  Case 8:19-cv-02710-PX-PAH-ELH              Document 112        Filed 09/01/20      Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


LA UNIÓN DEL PUEBLO
ENTERO, et al.,

                       Plaintiffs,
       v.
                                                          Civil Action No. 8:19-cv-02710-PX
DONALD J. TRUMP, sued in
his official capacity as President
of the United States, et al.,

                       Defendants.



 PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
                  AND/OR PRELIMINARY INJUNCTION

       Plaintiffs, by and through their undersigned counsel, move the Court to issue a temporary

restraining order and/or preliminary injunction pursuant to Federal Rule of Civil Procedure 65 to

enjoin Defendants from halting the 2020 decennial Census self-response and field data collection

operations prior to October 31, 2020, and reporting the count of total population to the President

prior to April 30, 2021. Plaintiffs’ arguments in support of this motion are set forth in the

attached Memorandum of Law.
 Case 8:19-cv-02710-PX-PAH-ELH   Document 112     Filed 09/01/20     Page 2 of 3



Dated: September 1, 2020         Respectfully submitted,

                                 By /s/ Terry Ao Minnis

                                 ASIAN AMERICANS ADVANCING JUSTICE |
                                 AAJC
                                 John C. Yang (IL Bar No. 6210478)*
                                 Niyati Shah (NJ Bar No. 026622005)
                                 Terry Ao Minnis (MD Bar No. 20547)º
                                 Eri Andriola (NY Bar No. 5510805)º
                                 1620 L Street, NW, Suite 1050
                                 Washington, DC 20036
                                 Phone: (202) 815-1098
                                 Facsimile: (202) 296-2318

                                 MEXICAN AMERICAN LEGAL DEFENSE
                                 AND EDUCATIONAL FUND
                                 Thomas A. Saenz (CA Bar No. 159430)º
                                 Nina Perales (TX Bar No. 24005046)º
                                 Andrea Senteno (NY Bar. No. 5285341)º
                                 Tanya G. Pellegrini (CA Bar No. 285186)º
                                 Daniel A. Hatoum (TX Bar No. 24099136)º
                                 1016 16th Street NW, Suite 100
                                 Washington, DC 20036
                                 Phone: (202) 293-2828
                                 Facsimile: (202) 293-2849

                                 WILMER CUTLER PICKERING
                                 HALE AND DORR LLP
                                 Debo P. Adegbile (NY Bar No. 2699742)
                                 Jamie S. Dycus (NY Bar No. 4523569)
                                 Alan E. Schoenfeld (NY Bar. No. 4500898)
                                 7 World Trade Center
                                 250 Greenwich Street
                                 New York, NY 10007
                                 Phone: (212) 230-8800
                                 Facsimile: (212) 230-8888

                                 * Pro hac vice application forthcoming
                                 º Not admitted in DC.




                                    2
 Case 8:19-cv-02710-PX-PAH-ELH             Document 112        Filed 09/01/20     Page 3 of 3




                                CERTIFICATE OF SERVICE

        I, Terry Ao Minnis, hereby certify that on September 1, 2020, I caused a copy of the
foregoing motion and all accompanying filings to be sent to all parties receiving CM/ECF
notices in this case.


                                                    /s/ Terry Ao Minnis
                                                    Terry Ao Minnis




                                                3
